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[Doclose] [Order Closing]




                                        ORDERED.
Dated: November 20, 2019




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                  Case No. 6:19−bk−05520−CCJ
                                                                        Chapter 7
Numa A Cardenas Cano



________Debtor*________/

 ORDER APPROVING ACCOUNT, DISCHARGING TRUSTEE, CANCELING BOND, AND CLOSING
                                 ESTATE


     The Court finds that the Trustee in the above−captioned case has completed all disbursements, if any, as
required, has rendered a full and complete account thereof, and has performed all duties required for the
administration of this estate. Accordingly, it is

     ORDERED:

     1. The account of the Trustee is approved and allowed, the estate is fully administered, and the estate is
closed.

     2. The Trustee is discharged from and relieved of the trust, the bond of the Trustee is canceled, and the
surety or sureties thereon are released from further liability thereunder, except any liability which may have
accrued during the time such bond was in effect.

     3. All motions/objections/applications that have not been resolved are denied as moot.

     4. The Clerk shall dispose of any exhibits left unclaimed in any matter or proceeding unless notified by
the appropriate party within 30 days.

 *All references to "Debtor" shall include and refer to both the debtors in a case filed jointly by two
individuals.
